    Case 10-01708-KCF       Doc 9    Filed 09/08/10 Entered 09/08/10 10:57:06         Desc Main
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                                                                                         9/8/2010
                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEW JERSEY

    IN THE MATTER OF:

    RICHARD JOHN GONICHELIS AND                          CASE NO.:   09-26862 (KCF)
    LISA LEE GONICHELIS
                                                         JUDGE:      KATHRYN C. FERGUSON


                                                         CHAPTER:    7
    ____________________________________

    RICHARD JOHN GONICHELIS AND                          ADVERSARY NO. 10-1708
    LISA LEE GONICHELIS
                             Plaintiffs,
               versus

    BACH’S HOME HEALTH CARE, INC.,
    JOAN B. CURCIO AND ROBERT G. MILLER



                                  Defendants.
    ____________________________________

            ORDER OF DISMISSAL AND SETTLEMENT AGREEMENT OF DEFENDANTS


    The relief set forth on the following pages numbered two (2) through (11) is hereby ORDERED.




DATED: 9/8/2010




                                                     1
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Debtors: Richard John Gonichelis and Lisa Lee Gonichelis
Case No.: 09-26862 (KCF)
Adversary No: 10-1708
Caption: ORDER OF DISMISSAL AND SETTLEMENT AGREEMENT OF DEFENDANTS
________________________________________________________________________

         THIS ADVERSARY PROCEEDING being opened before the Court by Jonathan Stone,

Esq., attorney for the Plaintiffs/Debtors, Richard John Gonichelis and Lisa Lee Gonichelis, and

Bach’s Home Heal Care, Inc., Joan B. Curcio and Robert G. Miller having been named as

Defendants to this action, and the Plaintiffs/Debtors having negotiated a settlement with

Defendants, and for good cause having been shown:

         IT IS HEREBY,

         ORDERED that the Settlement Agreement and Release of Bach’s Home Health Care,

Inc., Joan B. Curcio and Robert G. Miller is hereby incorporated and made part of this Order.




                                                   2



                                                         Approved by Judge Kathryn C. Ferguson September 08, 2010
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